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Honorable Mary L. Cooper
United States District Judge
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street Room 7W
Trenton, NJ 08608

May 25, 2017

Re: USA v. C. TATE GEORGE 3: 12-cr-204 (MLC)

  Dear Judge Cooper:

In support of Mr. C. Tate George's 2255 application to the Federal District Court and Honorable
Mary L. Cooper, please allow this letter to serve' as written representation and proof that I was
never contacted pre-trial, during tiial, or post-trial in the ab~ve-mentioned case by defense
                                                         .
attorney David Schafer, who represented Mr. George in this matter .

It has come to my attention that I was wrongly admitted as a loss victim at Mr. George~s
sentencing. Please allow this certified letter to serve as notice and proof to the court that Mr.
George, nor The George Group, does not personally or otherwise owe me any monetary amount,
specifically $364,000. Any and all investments were at risk investments, as I am a partner with
Mr. George in several companies and ongoing real estate projects. I am aware of each real estate
project and all civil litigations pending that have yet to be resolved.

May the court accept this sworn statement of mine as further acknowledgment that Mr. George
and I are still working together and are in good standing as business partners. Lastly, I have not
been defrauded of any of my investments.                                  .

I am prepared to testify to these facts in court to clear up this misunderstanding and/or
misrepresentation to the court presented by the prosecutors at sentencing regarding my
investment/involvement with Mr. George and our partnership.

If you need to contact me regarding this statement, you can do so on my cell phone at (407) 259-
8982 or my email at atkins.chucky407Cii1gmail.com.

Respectfully Yours,




Kenneth Chucky Atkins




STATE OF    1-lori J.a.., coUNTY oF        Onin~.e_          , ss.:
On this day, personally appeared before me

 J<e() ne..th ba.oclJ A+ k,'ns JR-                                           ,
to me known to be the person(s) described in and who executed the within and foregoing
instrument, and acknowledged that he/she signed the same as his/her voluntary act and deed, for




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the uses and purposes therein mentioned.

Witness my hand and official seal hereto affixed

this   ;15,"   day of   Iv( A~


Notary ublic in and for the tate of   '1-- \ori .~
My commission expires       3 {~ I c)o~ I .
